Case 23-10831-MFW   Doc 1047-2      Filed 03/03/24   Page 1 of 7




                       Exhibit B

                        Blackline
                   Case 23-10831-MFW            Doc 1047-2        Filed 03/03/24        Page 2 of 7




                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


    In re
                                                                     Chapter 11

    Lordstown Motors Corp., et al.,1                                 Case No. 23-10831 (MFW)
                                                                     (Jointly Administered)
                                            Debtors.
                                                                     Re: Docket No. 776


                 ORDER (I) AUTHORIZING THE ASSUMPTION OF CERTAIN
                  EXECUTORY CONTRACTS, (II) FIXING CURE COSTS IN
               CONNECTION THERETO, AND (III) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”)2 of the Debtors for entry of an order (this “Order”)

pursuant to sections 105 and 365 of the Bankruptcy Code, (a) authorizing the assumption of

certain executory contracts, as set forth on Schedule 1 attached hereto, (b) fixing cure costs to

the Cure Amounts as set forth on Schedule 1 attached hereto, and (c) granting related relief, as

more fully set forth in the Motion; and the Court having found that it has jurisdiction to consider

the Motion and the relief requested therein in accordance with 28 U.S.C. §§ 157 and 1334 and

the Amended Standing Order of Reference, dated February 29, 2012 (Sleet, C.J.); and

consideration of the Motion and the relief requested therein being a core proceeding pursuant to

28 U.S.C. § 157(b); and venue being proper before this Court pursuant to 28 U.S.C. §§ 1408 and

1409; and due, sufficient, and proper notice of the Motion having been provided under the

circumstances and in accordance with the Bankruptcy Rules and the Local Rules, and it


1
             The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
             Motors Corporation (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The
             Debtors’ service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
2
             Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
             Motion or the Debtors’ Third Modified First Amended Joint Chapter 11 Plan of Lordstown Motors Corp.
             and Its Affiliated Debtors (as amended, modified, or supplemented from time to time, the “Plan”), as
             applicable.


    AMERICAS 125945582
                Case 23-10831-MFW            Doc 1047-2     Filed 03/03/24    Page 3 of 7




appearing that no other or further notice need be provided; and a hearing having been held, if

necessary, to consider the relief requested in the Motion (the “Hearing”); and the record of the

Hearing, if any, and all of the proceedings had before the Court; and the Court having found and

determined that the relief sought in the Motion is in the best interests of the Debtors, their

estates, their creditors, their stakeholders, and all other parties-in-interest, and that the legal and

factual bases set forth in the Motion establish just cause for the relief granted herein; and after

due deliberation and sufficient cause appearing therefor,

          IT IS HEREBY ORDERED THAT:

          1.          The Motion is GRANTED as set forth herein.

          2.          Each of the executory contracts set forth on Schedule 1, attached hereto, are

assumed by the Debtors effective as of the Effective Date (as such term is defined in the Plan) of

the Debtors’ Modified First Amended Joint Chapter 11 Plan [Docket No. 657] (the “Plan”).

          3.          On or before the Effective Date, the Debtors shall have the right to remove any

executory contracts set forth on Schedule 1 in their sole discretion.

          4.          Any claim held by the Debtors against the Counterparties, whether or not such

claims arise under, are related to the assumption of, or are independent of the Contracts, are fully

preserved.

          5.          For the avoidance of doubt, notwithstanding the cure amount listed in Schedule 1,

attached hereto, the Debtors are authorized to pay additional amounts that come due after the

Effective Date pursuant to the terms of the applicable Contract in the ordinary course of

business, including amounts that accrued prior to the Effective Date; provided that nothing

herein shall prohibit the Debtors or any other party from challenging such asserted additional




 AMERICAS 125945582
                Case 23-10831-MFW            Doc 1047-2      Filed 03/03/24     Page 4 of 7




amounts consistent with ordinary course practices and the Court shall retain jurisdiction to

adjudicate such disputes.

          6.          5. Notwithstanding the relief granted in this Order and any actions taken pursuant

to such relief, nothing in this Order shall be deemed: (a) an admission as to the validity, extent,

perfection, priority, allowability, enforceability, or character of any claim or any security interest

which purportedly secures such claim or other asserted right or obligation, or a waiver or other

limitation on the Debtors’ ability to contest the same on any ground permitted by bankruptcy or

applicable non-bankruptcy law; (b) a waiver of the Debtors’ or any appropriate party in interest’s

rights to dispute the amount of, basis for, or validity of any claim against the Debtors; (c) a

promise to pay any claim; (d) a waiver of any claims or causes of action which may exist against

any creditor or interest holder; (e) an assumption or rejection of any executory contract pursuant

to section 365 of the Bankruptcy Code, except as specified herein, and nothing herein otherwise

affects the Debtors’ rights under section 365 of the Bankruptcy Code to assume or reject any

executory contract or unexpired lease with any party, except as specified in this Motion; (f)

granting third-party beneficiary status or bestowing any additional rights on any third party; (g)

being otherwise enforceable by any third party; or (h) an admission by the Debtors that such

Contract is, in fact, executory.

          7.          6. The Contracts shall be deemed valid and binding and in full force and effect

and assumed by the Debtor pursuant to section 365 of the Bankruptcy Code, subject only to the

payment of the Cure Amount, if any. Subject to the payment of the aforementioned Cure

Amount, if any, to the non-Debtor counterparties to each Contract, such counterparties are

without basis to assert against the Debtor, among other things, any defaults, breaches or claims

of pecuniary losses existing as of the entry of this Order or by reason of the entry of this Order.



 AMERICAS 125945582
                Case 23-10831-MFW             Doc 1047-2      Filed 03/03/24     Page 5 of 7




          8.          7. The Debtors have demonstrated adequate assurance of future performance and

have satisfied the requirements set forth in section 365(b)(1) of the Bankruptcy Code.

          9.          8. Notice of the Motion as provided therein shall be deemed good and sufficient

notice of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are

satisfied by such notice.

          10.         9. Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this

Order are immediately effective and enforceable upon its entry.

          11.         10. The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

          12.         11. This Court retains exclusive jurisdiction with respect to all matters arising

from or related to the implementation, interpretation, and enforcement of this Order.




 AMERICAS 125945582
               Case 23-10831-MFW   Doc 1047-2   Filed 03/03/24   Page 6 of 7




                                      Schedule 1

                                    The Contracts




AMERICAS 125945582
   Case 23-10831-MFW      Doc 1047-2   Filed 03/03/24   Page 7 of 7




                            Summary report:
    Litera Compare for Word 11.6.0.100 Document comparison done on
                          3/2/2024 12:37:44 AM
Style name: 2_WC_StandardSet
Intelligent Table Comparison: Active
Original filename: FOR COMPARE - Order on First Omnibus Motion to
Assume Contracts.docx
Modified filename: LMC - Order on First Omnibus Motion to Assume
Contracts.docx
Changes:
Add                                                        11
Delete                                                     9
Move From                                                  1
Move To                                                    1
Table Insert                                               0
Table Delete                                               0
Table moves to                                             0
Table moves from                                           0
Embedded Graphics (Visio, ChemDraw, Images etc.)           0
Embedded Excel                                             0
Format changes                                             0
Total Changes:                                             22
